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                                     7
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                                            ATTORNEY STEPHAN PASSALACQUA,
                              14            and SONOMA COUNTY CHIEF PROBATION
                                            OFFICER ROBERT OCHS
                              15

                              16                                             UNITED STATES DISTRICT COURT

                              17                                     FOR THE EASTERN DISTRICT OF CALIFORNIA

                              18                                    AND THE NORTHERN DISTRICT OF CALIFORNIA

                              19                        UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                              20                          PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

                              21

                              22            RALPH COLEMAN, et al.,         )                 No. CIV S-90-0520 LKK JFM P
                                                                           )
                              23                Plaintiffs,                )                 THREE-JUDGE COURT
                                                                           )
                              24            v.                             )
                                                                           )
                              25            ARNOLD SCHWARZENEGGER, et al., )
                                                                           )
                              26                Defendants.                )
                                                                           )
                              27

                              28            //

A N N M IL L E R R A V E L
       C o u n ty C o u n s e l
  C o u n ty o f S a n ta C la r a          County Intervenors and Sonoma County
   S a n Jo se , C a lifo rn ia
                                            Intervenors Opp. to Plaintiffs’ MIL No. 8         1     CIV S-90-0520 LKK JFM P / C01-1351 TEH
                                         Case 2:90-cv-00520-KJM-SCR                 Document 3162     Filed 10/30/08     Page 2 of 3


                                     1      MARCIANO PLATA, et al.,        )                 No. C01-1351 TEH
                                                                           )
                                     2                                     )                 THREE-JUDGE COURT
                                                Plaintiffs,                )
                                     3                                     )                 COUNTY INTERVENORS’ AND SONOMA
                                                                           )                 COUNTY INTERVENORS’
                                     4      v.                             )                 MEMORANDUM OF POINTS AND
                                                                           )                 AUTHORITIES IN OPPOSITION TO
                                     5                                     )                 PLAINTIFFS’ MOTION IN LIMINE NO. 8
                                            ARNOLD SCHWARZENEGGER, et al., )                 TO EXCLUDE HEARSAY IN EXPERT
                                     6                                     )                 REPORTS FROM INTRODUCTION INTO
                                                                           )                 EVIDENCE AT TRIAL
                                     7          Defendants.                )
                                                                           )                 Trial Date: November 18, 2008
                                     8                                     )                 Time:       1:30 p.m.
                                                                           )                 Location: U.S.D.C. Ceremonial Courtroom
                                     9

                              10                  Plaintiffs filed a motion in limine to exclude all “hearsay” evidence referenced in all

                              11            Defendant and Intervenor expert reports. County Intervenors and Sonoma County Intervenors

                              12            oppose a blanket exclusion of such evidence contained in reports submitted by their experts.1

                              13                  Hearsay evidence may be admitted for a number of purposes, including for the truth of the

                              14            matter asserted, under one or more recognized exceptions to the hearsay rule. Federal Rules of

                              15            Evidence 803-807. There are many exceptions that are relevant in this proceeding including,

                              16            but not limited to, present sense impressions, public records exception, business records

                              17            exception, and the residual exception. Federal Rules of Evidence 803(1), 803(8), 803(6) and

                              18            807. Plaintiffs’ motion is improper because it seeks to exclude all hearsay evidence without

                              19            consideration as to whether that evidence is properly admissible under a recognized exception
                              20            to the hearsay rule.

                              21                  Moreover, Plaintiffs fail to reference any objectionable hearsay statements contained in

                              22            the expert reports of County Intervenors and Sonoma County Intervenors. As a result, if the

                              23            Court grants Plaintiffs’ motion for a blanket exclusion, the County Intervenors and Sonoma

                              24            County Intervenors will have been effectively denied the opportunity to present their arguments

                              25

                              26                    1
                                                     Defendants have filed a similar motion, entitled Defendants Motion in Limine
                                            No. 3 to Exclude Hearsay Statements in Expert Reports from Introduction Into Evidence
                              27            At Trial. To the extent any party seeks a blanket exclusion of hearsay evidence contained
                              28            in expert reports of County Intervenors and Sonoma County Intervenors, we oppose such
                                            exclusion on the grounds stated herein.
A N N M IL L E R R A V E L
       C o u n ty C o u n s e l
  C o u n ty o f S a n ta C la r a          County Intervenors and Sonoma County
   S a n Jo se , C a lifo rn ia
                                            Intervenors Opp. to Plaintiffs’ MIL No. 8         2     CIV S-90-0520 LKK JFM P / C01-1351 TEH
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                                     1      as to why each piece of evidence should not be excluded. This result would be inequitable.

                                     2      Plaintiffs should be required to indicate each item of evidence they object to on hearsay

                                     3      grounds, and each item should be assessed in terms of whether or not there are applicable

                                     4      exceptions allowing for its admission for the truth of the matter asserted, or for some other

                                     5      purpose. Therefore, Plaintiffs’ Motion In Limine No. 8 to Exclude Hearsay in Expert Reports

                                     6      from Introduction at Trial Should Be Denied as to expert reports submitted by County

                                     7      Intervenors and Sonoma County Intervenors.

                                     8            I hereby attest that I have on file the approval for the signature indicated by the

                                     9      “conformed” signature (/S/) within this e-filed document.

                              10            Dated: October 30, 2008                                 Respectfully submitted,

                              11                                                                    ANN MILLER RAVEL
                                                                                                    County Counsel
                              12
                                                                                             By:               /S/
                              13                                                                    THERESA J. FUENTES
                                                                                                    Deputy County Counsel
                              14
                                                                                                    Lead Attorneys for Intervenors
                              15                                                                    COUNTY OF SANTA CLARA, COUNTY
                                                                                                    OF SAN MATEO,
                              16                                                                    COUNTY OF SANTA BARBARA

                              17

                              18            Dated: October 30, 2008                                 STEVEN M. WOODSIDE
                                                                                                    County Counsel
                              19
                                                                                             By:               /S/
                              20                                                                    ANNE L. KECK
                                                                                                    Deputy County Counsel
                              21
                                                                                                    Attorneys for Intervenor,
                              22                                                                    COUNTY OF SONOMA,
                                                                                                    SONOMA COUNTY SHERIFF,
                              23                                                                    SONOMA COUNTY CHIEF
                                                                                                    PROBATION OFFICER
                              24

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A N N M IL L E R R A V E L
       C o u n ty C o u n s e l
  C o u n ty o f S a n ta C la r a          County Intervenors and Sonoma County
   S a n Jo se , C a lifo rn ia
                                            Intervenors Opp. to Plaintiffs’ MIL No. 8         3     CIV S-90-0520 LKK JFM P / C01-1351 TEH
